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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA

JAMES CHVILICEK,                                CASE NO. CV-20-139-DLC-KLD

                     Plaintiff
       vs.

WILLIAM M. AUSTIN and JOHN DOES 1-5.
                                             WILLIAM M. AUSTIN’S PRELIMINARY
                     Defendants                    PRETRIAL STATEMENT


       Defendant, William M. Austin (“Mr. Austin”) by and through his

undersigned counsel, The Hustead Law Firm, A Professional Corporation,

pursuant to this Court’s September 9, 2020 Order, L.R. 16.2(b)(1), Fed. R. Civ. P.

16(b)(3)(B)(iii), and Fed. R. Civ. P. 26(f)(3)(C) hereby submits this Preliminary

Pretrial Statement, and states as follows:

                          I.     BRIEF FACTUAL OUTLINE

       1.     This matter arises out of a two-vehicle collision involving Defendant

William Austin (“Mr. Austin”), his late wife, Kimberly Austin, and Plaintiff James

Chvilicek (“Plaintiff”), which occurred on September 11, 2017, just north of West

Glacier, Montana (the “Incident”).
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      2.     Mr. Austin and his wife were driving their 2002 Ford F-250

westbound on U.S. Highway 2, toward the Crown of the Continent Discovery

Center (the “Discovery Center”), located at 12,000 U.S. Highway 2, West Glacier,

Montana 59912.      Approximately one to two minutes out from the Discovery

Center, Mr. Austin transitioned from the slow (right) lane into the fast (left) lane

and prepared to turn into the middle lane designated for turning only.

      3.     Anticipating his turn into the Discovery Center, Mr. Austin, activated

his left turn signal, steadily slowed from approximately seventy mph (the posted

speed limit) to about forty-five mph, and gradually began to move from the left

lane into the dedicated turn lane. Before the Austins were fully in the dedicated

turn lane they were rear-ended by Plaintiff’s 1997 Ford F-250.

      4.     The collision forced the Austins’ vehicle across the highway into a

ditch near the Discovery Center’s entrance. Mr. Austin was knocked unconscious

because of the collision, and he does not remember all the details of the Incident.

                      II.   JURISDICTION AND VENUE

      1.     This Court has diversity jurisdiction pursuant to U.S.C. § 1332(a)(1),

and the substantive law of Montana applies pursuant to Erie….

      2.     The Complaint alleges that Plaintiff is and was at all times relevant a

resident and citizen of the State of Montana. See Complaint at ¶ 1.




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      3.     The Complaint also alleges that Mr. Austin is and was at all times

relevant a resident and citizen of the State of Michigan. See id at ¶ 2.

      4.     In the Complaint, Plaintiff references a settlement demand he made on

December 20, 2017 which included a demand for the “policy limits” in exchange

for releases. See id at ¶ 51. Plaintiff also incorporated the December 20, 2017

demand letter as an exhibit to the Complaint. See id.

      5.     The insurance policy that applies to this matter contains the following

limits, as described more fully in the policy:

             a.     $100,00 for residual bodily injury per person;

             b.     $300,000 for residual bodily injury per occurrence; and

             c.     $50,000 for residual property damage per occurrence.

      6.     In light of the foregoing, the amount in controversy exceeds the sum

of $75,000, exclusive of interests and costs, and is between citizens of different

states as that term is defined in 28 U.S.C. § 1332.

      7.     Thus, this Court has original jurisdiction in this matter pursuant to 28

U.S.C. § 1332(a)(1).

      8.     Pursuant to 28 U.S.C. § 1391, venue is proper because a substantial

part of the events or omissions giving rise to this matter occurred in the state of

Montana.




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           III.   FACTUAL AND LEGAL BASIS FOR DEFENSES

      1.     Mr. Austin’s Affirmative Defenses are listed below with the legal

theory underlying each defense following the same.

      2.     Plaintiff’s Complaint fails to state a claim upon which relief can be

granted. In Montana, “[t]he driver of a motor vehicle may not follow another

vehicle more closely than is reasonable and prudent, having due regard for the

speed of the vehicles and the traffic upon and the condition of the roadway.” See §

61–8–329(1), MCA.         Further, “[a] motor vehicle being driven upon a

roadway…must be operated in a manner that allows sufficient space between each

vehicle or combination of vehicles to enable any other vehicle to enter and occupy

the space without danger.” See § 61–8–329(2), MCA. Plaintiff was following Mr.

Austin too closely and traveling at a speed that did not allow sufficient space

between his vehicle and Mr. Austin’s vehicle. Therefore, Plaintiff had the primary

duty of avoiding the collision.

      3.     Plaintiff’s claims for damages against Mr. Austin are barred or should

be comparatively reduced by Plaintiff’s comparative negligence. Under § 27-1-

702, MCA (effective on occurrence of contingency), “[c]ontributory fault does not

bar recovery in an action by a person…to recover tort damages for…injury to a

person or property if the contributory fault was not greater than the fault of the

defendant or the combined fault of all defendants and nonparties, but damages


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allowed must be diminished in proportion to the percentage of fault attributable to

the person recovering.” Here, Plaintiff had the last clear chance to avoid hitting

Mr. Austin’s vehicle, but he was not paying attention and driving too fast/too close

behind Mr. Austin. Mr. Austin’s turn signal was on and he legally attempted to

move from the left lane into the left turn lane. Plaintiff should have had a clear

line of sight to Mr. Austin’s truck, turn signal, and brake lights, but he told

witnesses that he looked down at something is his truck just prior to the collision.

Plaintiff was also wrongfully traveling in the left lane rather than the right lane, as

the left lane is designated for passing. Thus, Plaintiff was primarily liable for the

collision and he should be precluded from recovery, or his recovery should be

reduced by his comparative fault.

      4.     Plaintiff’s claims against Mr. Austin are barred in whole or part by

Plaintiff’s pre-existing conditions and/or subsequent injuries.       In Montana, a

defendant may submit evidence of pre-existing injuries to negate allegations that

he is the cause or sole cause of the current injury, subject to the trial court’s

application of traditional evidentiary considerations. See Clark v. Bell, 2009 MT

390, ¶ 25, 353 Mont. 331, 338, 220 P.3d 650, 655. “A tortfeasor should only be

held liable for injuries which he causes. He should not be held liable for damages

sustained by the plaintiff in a subsequent accident involving a separate tortfeasor.”

Beil v. Mayer, 242 Mont. 204, 208, 789 P.2d 1229, 1232 (1990).                   Upon


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information and belief, Plaintiff may have had pre-existing injuries similar to the

ones he claims were caused by the Incident and Plaintiff also may have sustained

similar injuries after the Incident, which he claims because of the Incident.

Accordingly, Plaintiff’s pre-existing conditions and/or subsequent injuries preclude

(in whole or in part) Plaintiff’s claims against Mr. Austin.

      5.     Plaintiff’s damages, if any, may have been caused by third parties

over whom Mr. Austin had no control or right to control, which bars Plaintiff’s

claims against Mr. Austin.      As discussed in paragraph 3 within this section,

Montana follows a modified comparative fault rule that reduces the amount of

damages a Plaintiff can receive if Plaintiff is less than fifty percent responsible.

See § 27-1-702, MCA. Here, Plaintiff is at least partially responsible for rear-

ending Mr. Austin’s vehicle, if not wholly liable. Further, Plaintiff pled negligence

claims against “John Does 1-5” in the Complaint. See Complaint at ¶¶ 67-69. As

such, upon information and belief, Plaintiff is at least partially liable for the

Incident and there are third parties that may also be responsible for causing the

Incident.

      6.     Plaintiff may have failed to mitigate his damages, if any, which bars

or comparatively diminishes his right to recover herein. Mitigation of damages is

properly considered a defense. E.C.A. Envtl. Mgmt. Servs., Inc. v. Toenyes, 208

Mont. 336, 350, 679 P.2d 213, 220 (1984). “The duty of the injured party to


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reduce or mitigate damages ‘is a positive duty, within limits...’” Kraft v. High

Country Motors, Inc., 2012 MT 83, ¶ 60, 364 Mont. 465, 478, 276 P.3d 908, 918.

“A ‘…damaged party is only expected to do what is reasonable under the

circumstances and need not embark upon a course of action which may cause

further detriment to him.’”     Id.   Plaintiff has asserted that he sustained both

personal injury damages and property damages as a result of the Incident. But

Plaintiff has not provided any evidence that he attempted to mitigate his alleged

damages, and further evidence will be sought/obtained in discovery. Therefore,

Plaintiff’s failure to mitigate his damages bars or comparatively reduces his claims

against Mr. Austin.

      7.     Mr. Austin’s alleged negligence, if any, was not the proximate cause

of some or all of Plaintiff’s alleged damages, injuries, and losses. “In order for the

defendant’s negligence…to be the proximate cause of the plaintiff’s injury, it must

appear from the facts and circumstances surrounding the accident…that the

defendant as an ordinarily prudent person, could have foreseen that the plaintiff’s

injury would be the natural and probable consequence of the wrongful act.” See

Busta v. Columbus Hosp. Corp., 276 Mont. 342, 365, 916 P.2d 122, 135 (1996).

Here, Mr. Austin and his late wife were camping approximately five minutes away

from the Discovery Center, which is where the Austins were heading on the date of

the Incident. On September 11, 2017, Mr. Austin and his wife entered U.S.


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Highway 2 and remained in the right, westbound lane for approximately three to

four minutes. Then, Mr. Austin engaged his left turn signal and transitioned into

the left lane, where he remained for approximately one to two minutes in

preparation for exiting the highway at the Discovery Center’s entrance. In advance

of exiting the highway at the Discovery Center, Mr. Austin engaged his left turn

signal again to get into the designated turn lane and he began slowing is vehicle to

accomplish the transition. Before Mr. Austin was able to fully transition into the

designated turn lane, Plaintiff rear-ended Mr. Austin. Mr. Austin could not have

foreseen the Incident occurring because he followed all legal requirements in his

attempt to make the turn and had no idea that Plaintiff would rear-end him. Thus,

Mr. Austin’s actions were not a proximate cause of Plaintiff’s claimed damages.

      8.      Plaintiff’s claims against Mr. Austin are barred by the doctrine of

laches. The doctrine of laches is an equitable remedy—asserted as an affirmative

defense under M. R. Civ. P. 8(c)(1)—“…by which a court denies relief to a

claimant who has unreasonably delayed or been negligent in asserting a claim,

when the delay or negligence has prejudiced the party against whom relief is

sought.” Anderson v. Stokes, 2007 MT 166, ¶ 19, 338 Mont. 118, 163 P.3d 1273.

To determine whether laches applies, a Court must find: (1) the party against

whom the defense is asserted lacked diligence in asserting a claim; and (2) that

lack of diligence resulted in prejudice to the party asserting the defense. See


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Wicklund v. Sundheim, 2016 MT 62, ¶ 40, 383 Mont. 1, 367 P.3d 403. As stated

above, the Incident occurred on September 11, 2017 and Plaintiff filed his

Complaint on March 9, 2018. Plaintiff waited nearly eighteen months to serve Mr.

Austin after filing the Complaint. Since the Complaint was filed, Mr. Austin’s

wife (a key witness) passed away, physical evidence has disappeared or has been

repaired, and witnesses’ memories have faded and they may be unreachable. For

these reasons, Plaintiff’s unreasonable delay in prosecuting his case has prejudiced

Mr. Austin’s defenses. Accordingly, Plaintiff’s claims are barred by the doctrine

of laches.

      9.     Plaintiff’s damages, if any, may be reduced by the amounts of any and

all payments received from a collateral source. “In an action arising from bodily

injury…when the total award against all defendants is in excess of $50,000 and the

plaintiff will be fully compensated for the plaintiff’s damages, exclusive of court

costs and attorney fees, a plaintiff’s recovery must be reduced by any amount paid

or payable from a collateral source that does not have a subrogation right.” § 27-1-

308(1), MCA. Upon information and belief, Plaintiff benefits from insurance

provided by private health insurance, state Medicaid, Medicare, workers’

compensation, or governmental assistance programs, which would reduce

Plaintiff’s damages award (if any). Therefore, if Plaintiff obtains a damages award




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in excess of $50,000, that amount should be reduced by his collateral source

benefits.

       10.    Mr. Austin also intends on requesting leave to file an Amended

Answer and Jury Demand asserting the additional affirmative defense that

Plaintiff’s claims for relief may be barred or reduced under the doctrines of set-off

or recoupment. Set-off or “[r]ecoupment, at common law, is the right of the

defendant, in the same action, to cut down the plaintiff's demand…” Mattson v.

Julian, 209 Mont. 48, 53, 678 P.2d 654, 657 (1984). Here, Mr. Austin incurred

both medical expenses and property damage because of the collision. Accordingly,

Plaintiff’s damages award (if any) should be barred or reduced because of set-off

or recoupment.

                IV.    DAMAGES AND RELATED LITIGATION

       1.     At this time, Mr. Austin has not asserted any damages against

Plaintiff, but he reserves the right to seek appropriate attorneys’ fees and costs if he

prevails in this litigation.

       2.     Mr. Austin disputes Plaintiff’s alleged damages because on the date of

the Incident Plaintiff admitted to two witnesses (Mr. Brandon Kitt and Ms.

Madison Mayer) that Plaintiff looked down at something in the cab of his vehicle

immediately before the collision, which contributed to Plaintiff rear-ending Mr.

Austin’s vehicle. If Plaintiff had not looked down, he would have seen Mr.


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Austin’s vehicle in front of him, Mr. Austin’s turn signal, and Mr. Austin’s brake

lights. Thus, Plaintiff would have had sufficient notice to slow down, move to the

right lane, and/or otherwise take action to where he would not have rear-ended Mr.

Austin’s vehicle.

      3.     Mr. Austin also disputes Plaintiff’s claim for lost wages. Plaintiff’s

claim for lost wages is based on his income when he was in the National Guard

(prior to the subject incident), but at the time period relevant to this case, Plaintiff

was working as a carpenter. Plaintiff also claims that he could not work for nearly

eight months after the collision, but his treating medical provider stated he would

only miss approximately two to three months of work, if any. Further, Plaintiff

claims $55,056.97 in lost wages and an additional $88,346.33 for lost revenue,

which is essentially the same thing in this case because Plaintiff was a self-

employed carpenter.

      4.     Mr. Austin also disputes Plaintiff’s claims for future medical

expenses. Plaintiff claims that he was primarily treated for a right ankle fracture,

but his medical records indicate that at least some of the fractures were age

indeterminate, well corticated, and likely old fractures.        Moreover, Plaintiff’s

treatment providers directed Plaintiff to participate in physical therapy, but

Plaintiff did not comply with that direction.




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      5.        On March 9, 2018, Plaintiff filed his Complaint with Montana’s

Eleventh Judicial District Court for Flathead County, Montana (Case No. DV-18-

234D). After Mr. Austin was served (on August 26, 2020), on September 8, 2020,

Mr. Austin filed a Notice of Removal, which removed this case to the United

States District Court for the District of Montana – Missoula Division.

      6.        To Mr. Austin’s knowledge, there is not any other related state or

federal action pertaining to this matter.

           V.    PROPOSED ADDITIONAL STIPULATIONS OF FACT

      1.        At the time of the incident, Mr. Austin was driving with his late wife

in their 2002 Ford F-250 traveling south on MT HWY 2 in the left lane of travel

toward the Crown of the Continent Discovery Center (the “Discovery Center”).

      2.        Mr. Austin was traveling south on MT HWY 2 in the left lane of

travel for approximately two minutes prior to the incident occurring.

      3.        As the Austins approached the entrance for the Discovery Center, Mr.

Austin engaged his left turn signal, slowed to approximately forty-five mph and

gradually began to enter the dedicated turn lane.

      4.        Mr. Austin was rear-ended by Plaintiff as he was attempting to

transition from the left lane into the designated turn lane.

      5.        As a result of the impact, Mr. Austin’s vehicle veered left, past the

Discovery Center’s entrance, and into a ditch on the side of U.S. Highway 2.


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      6.     Mr. Austin disputes liability, causation, and Plaintiff’s alleged

damages.

    VI.     PROPOSED DEADLINES FOR JOINDER OF PARTIES AND
                      AMENDMENT OF PLEADINGS

      1.     Proposed deadline for Joinder of Parties – January 18, 2021.

      2.     Proposed deadline for Amendment of Pleadings – January 18, 2021.

  VII.      ISSUES OF LAW SUITABLE FOR PRETRIAL DISPOSITION

      1.     Not applicable at this time.

                     VIII.    POTENTIAL WITNESSES

      1.     James Chvilicek – C/O Bliven Law Firm, P.C., 278 Fourth Avenue

East North, Kalispell, Montana 59901, (406) 755-6828.

      2.     William M. Austin – C/O The Hustead Law Firm, A Professional

Corporation, 4643 South Ulster Street, Suite 1250, Denver, Colorado 80237, (303)

721-5000.

      3.     Linda Wilson – (406) 387-4405.

      4.     Patrick Clark – (801) 712-6689.

      5.     Ann Dawidziak – (310) 510-8404.

      6.     Linda Akers – (601) 415-4229.

      7.     Brandon Kitt – (918) 284-2165.

      8.     Madison Mayer – (918) 691-3512.



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      9.     Current and former employees and/or representatives of the Montana

Highway Patrol including Trooper James Hawkins – 2550 Prospect Avenue,

Helena, MT 59620 (406) 444-3780.

      10.    Any unidentified witnesses at the scene of the Incident.

      11.    Any unidentified treatment providers.

      12.    Any individuals and/or entities identified by any party in this matter.

      13.    Any individuals and/or entities identified during discovery.

      14.    Any individuals and/or entities identified in any document produced

by any party in this matter.

      15.    Any witness necessary for rebuttal or impeachment.

      16.    Any expert witness identified by any party in this matter.

      17.    Any person necessary to lay foundation or authenticate documents.

                  IX.   APPLICABLE INSURANCE POLICY

      1.     The subject policy issued by Home-Owners Insurance Company

(Policy No. 95-792226-01) was produced with Mr. Austin’s initial disclosure

documents.

                          X.   SETTLEMENT STATUS

      1.     To date, Plaintiff has not provided Mr. Austin with a settlement

demand, complete medical records or bills, and only minimal information

pertaining to Plaintiff’s property damage claim. Mr. Austin is unable to accurately


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analyze Plaintiff’s claim for damages without supporting documentation or

information. Nevertheless, Mr. Austin’s counsel will continue their efforts to

possibly settle this matter prior to trial.

              XI.     SUITABILITY OF SPECIAL PROCEDURES

       1.     Not applicable at this time.

                       XII.    ELECTRONIC DISCOVERY

       1.     At this time, Mr. Austin does not anticipate that the claims or defenses

in this case will involve extensive electronically stored information. Currently,

Mr. Austin does not have any issues pertaining to the preservation of such

information or the form in which such information should be produced pursuant to

Fed. R. Civ. P. 26(f)(3)(C). Nevertheless, Mr. Austin requests the opportunity to

discover electronically stored information and that such information be

preserved/disclosed pursuant to Fed. R. Civ. P. 16(b)(3)(B)(iii).

                                   [Signatures Follow]




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Respectfully submitted this 10th day of November, 2020.
                               The Hustead Law Firm
                                      A Professional Corporation

                               The Original Signature is on File at
                               The Hustead Law Firm, A Professional
                               Corporation



                                /s/ Connor L. Cantrell
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                              CERTIFICATE OF SERVICE

     I hereby certify that on this 10th day of November, 2020, I delivered a true and correct
copy of the foregoing WILLIAM M. AUSTIN’S PRELIMINARY PRETRIAL
STATEMENT via ECF and/or Electronic Mail and/or U.S. Mail to the following:

Aaron J. Brann
Michael A. Bliven
Bliven Law Firm, P.C.
278 Fourth Ave E.N.
Kalispell, MT 59901
Attorneys for Plaintiff




                                                  The Original Signature is on File at
                                                  The Hustead Law Firm, A Professional
                                                  Corporation



                                                   /s/ Connor L. Cantrell
                                                  Connor L. Cantrell




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